                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

  UNITED STATES OF AMERICA                       )
                                                 )        Case No. 1:17-cr-70
  v.                                             )
                                                 )        Judge Travis R. McDonough
  JAMES JOHNSON                                  )
                                                 )        Magistrate Judge Christopher H. Steger
                                                 )


                                              ORDER



          U.S. Magistrate Judge Christopher H. Steger filed a report and recommendation [Doc.

 104] recommending that the Court: (1) grant Defendant’s motion to withdraw his not guilty plea

 to a lesser included offense of Count One of the Indictment; (2) accept Defendant’s guilty plea to

 a lesser included offense of Count One of the Indictment; (3) adjudicate Defendant guilty of

 conspiracy to distribute 500 grams or more of a substance containing a detectable amount of

 cocaine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)

 and 846; and (4) order that Defendant remain out of custody subject to the Order Setting

 Conditions of Release [Doc. 35] until further order of the Court or sentencing in this matter.

 Neither party filed a timely objection to the report and recommendation. After reviewing the

 record, the Court agrees with Magistrate Judge Steger’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation [Doc. 104] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       1. Defendant’s motion to withdraw his not guilty plea to a lesser included offense of Count

          One of the Indictment is GRANTED;




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    2. Defendant’s plea of guilty to a lesser included offense of Count One of the Indictment is

       ACCEPTED;

    3. Defendant is hereby ADJUDGED guilty of conspiracy to distribute 500 grams or more of

       a substance containing a detectable amount of cocaine, a Schedule II controlled substance,

       in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 846; and

    4. Defendant SHALL REMAIN out of custody subject to the Order Setting Conditions of

       Release [Doc. 35] until further order of this Court or sentencing in this matter which is

       scheduled to take place on January 12, 2018 at 2:00 p.m. before the undersigned.

    SO ORDERED.


                                            /s/Travis R. McDonough
                                            TRAVIS R. MCDONOUGH
                                            UNITED STATES DISTRICT JUDGE




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